Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 1 of 136 Page ID
                                  #:120106
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 2 of 136 Page ID
                                  #:120107
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 3 of 136 Page ID
                                  #:120108
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 4 of 136 Page ID
                                  #:120109
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 5 of 136 Page ID
                                  #:120110
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 6 of 136 Page ID
                                  #:120111
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 7 of 136 Page ID
                                  #:120112
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 8 of 136 Page ID
                                  #:120113
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 9 of 136 Page ID
                                  #:120114
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 10 of 136 Page ID
                                  #:120115
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 11 of 136 Page ID
                                  #:120116
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 12 of 136 Page ID
                                  #:120117
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 13 of 136 Page ID
                                  #:120118
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 14 of 136 Page ID
                                  #:120119
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 15 of 136 Page ID
                                  #:120120
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 16 of 136 Page ID
                                  #:120121
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 17 of 136 Page ID
                                  #:120122
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 18 of 136 Page ID
                                  #:120123
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 19 of 136 Page ID
                                  #:120124
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 20 of 136 Page ID
                                  #:120125
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 21 of 136 Page ID
                                  #:120126
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 22 of 136 Page ID
                                  #:120127
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 23 of 136 Page ID
                                  #:120128
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 24 of 136 Page ID
                                  #:120129
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 25 of 136 Page ID
                                  #:120130
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 26 of 136 Page ID
                                  #:120131
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 27 of 136 Page ID
                                  #:120132
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 28 of 136 Page ID
                                  #:120133
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 29 of 136 Page ID
                                  #:120134
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 30 of 136 Page ID
                                  #:120135
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 31 of 136 Page ID
                                  #:120136
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 32 of 136 Page ID
                                  #:120137
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 33 of 136 Page ID
                                  #:120138
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 34 of 136 Page ID
                                  #:120139
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 35 of 136 Page ID
                                  #:120140
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 36 of 136 Page ID
                                  #:120141
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 37 of 136 Page ID
                                  #:120142
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 38 of 136 Page ID
                                  #:120143
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 39 of 136 Page ID
                                  #:120144
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 40 of 136 Page ID
                                  #:120145
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 41 of 136 Page ID
                                  #:120146
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 42 of 136 Page ID
                                  #:120147
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 43 of 136 Page ID
                                  #:120148
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 44 of 136 Page ID
                                  #:120149
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 45 of 136 Page ID
                                  #:120150
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 46 of 136 Page ID
                                  #:120151
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 47 of 136 Page ID
                                  #:120152
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 48 of 136 Page ID
                                  #:120153
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 49 of 136 Page ID
                                  #:120154
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 50 of 136 Page ID
                                  #:120155
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 51 of 136 Page ID
                                  #:120156
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 52 of 136 Page ID
                                  #:120157
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 53 of 136 Page ID
                                  #:120158
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 54 of 136 Page ID
                                  #:120159
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 55 of 136 Page ID
                                  #:120160
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 56 of 136 Page ID
                                  #:120161
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 57 of 136 Page ID
                                  #:120162
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 58 of 136 Page ID
                                  #:120163
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 59 of 136 Page ID
                                  #:120164
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 60 of 136 Page ID
                                  #:120165
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 61 of 136 Page ID
                                  #:120166
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 62 of 136 Page ID
                                  #:120167
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 63 of 136 Page ID
                                  #:120168
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 64 of 136 Page ID
                                  #:120169
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 65 of 136 Page ID
                                  #:120170
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 66 of 136 Page ID
                                  #:120171
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 67 of 136 Page ID
                                  #:120172
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 68 of 136 Page ID
                                  #:120173
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 69 of 136 Page ID
                                  #:120174
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 70 of 136 Page ID
                                  #:120175
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 71 of 136 Page ID
                                  #:120176
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 72 of 136 Page ID
                                  #:120177
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 73 of 136 Page ID
                                  #:120178
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 74 of 136 Page ID
                                  #:120179
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 75 of 136 Page ID
                                  #:120180
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 76 of 136 Page ID
                                  #:120181
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 77 of 136 Page ID
                                  #:120182
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 78 of 136 Page ID
                                  #:120183
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 79 of 136 Page ID
                                  #:120184
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 80 of 136 Page ID
                                  #:120185
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 81 of 136 Page ID
                                  #:120186
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 82 of 136 Page ID
                                  #:120187
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 83 of 136 Page ID
                                  #:120188
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 84 of 136 Page ID
                                  #:120189
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 85 of 136 Page ID
                                  #:120190
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 86 of 136 Page ID
                                  #:120191
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 87 of 136 Page ID
                                  #:120192
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 88 of 136 Page ID
                                  #:120193
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 89 of 136 Page ID
                                  #:120194
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 90 of 136 Page ID
                                  #:120195
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 91 of 136 Page ID
                                  #:120196
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 92 of 136 Page ID
                                  #:120197
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 93 of 136 Page ID
                                  #:120198
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 94 of 136 Page ID
                                  #:120199
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 95 of 136 Page ID
                                  #:120200
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 96 of 136 Page ID
                                  #:120201
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 97 of 136 Page ID
                                  #:120202
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 98 of 136 Page ID
                                  #:120203
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 99 of 136 Page ID
                                  #:120204
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 100 of 136 Page
                                ID #:120205
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 101 of 136 Page
                                ID #:120206
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 102 of 136 Page
                                ID #:120207
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 103 of 136 Page
                                ID #:120208
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 104 of 136 Page
                                ID #:120209
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 105 of 136 Page
                                ID #:120210
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 106 of 136 Page
                                ID #:120211
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 107 of 136 Page
                                ID #:120212
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 108 of 136 Page
                                ID #:120213
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 109 of 136 Page
                                ID #:120214
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 110 of 136 Page
                                ID #:120215
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 111 of 136 Page
                                ID #:120216
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 112 of 136 Page
                                ID #:120217
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 113 of 136 Page
                                ID #:120218
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 114 of 136 Page
                                ID #:120219
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 115 of 136 Page
                                ID #:120220
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 116 of 136 Page
                                ID #:120221
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 117 of 136 Page
                                ID #:120222
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 118 of 136 Page
                                ID #:120223
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 119 of 136 Page
                                ID #:120224
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 120 of 136 Page
                                ID #:120225
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 121 of 136 Page
                                ID #:120226
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 122 of 136 Page
                                ID #:120227
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 123 of 136 Page
                                ID #:120228
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 124 of 136 Page
                                ID #:120229
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 125 of 136 Page
                                ID #:120230
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 126 of 136 Page
                                ID #:120231
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 127 of 136 Page
                                ID #:120232
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 128 of 136 Page
                                ID #:120233
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 129 of 136 Page
                                ID #:120234
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 130 of 136 Page
                                ID #:120235
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 131 of 136 Page
                                ID #:120236
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 132 of 136 Page
                                ID #:120237
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 133 of 136 Page
                                ID #:120238
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 134 of 136 Page
                                ID #:120239
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 135 of 136 Page
                                ID #:120240
Case 2:04-cv-09049-DOC-RNB Document 4374-12 Filed 10/20/08 Page 136 of 136 Page
                                ID #:120241
